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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


MICHAEL KEVIN MEADE,

               Petitioner,

       v.                                              Civil action no. 1:05cv48
                                                       Criminal action no. 1:03cr32
                                                       (Judge Keeley)

UNITED STATES OF AMERICA,

               Respondent.


                      REPORT AND RECOMMENDATION/OPINION


                                  I. PROCEDURAL HISTORY

       On March 16, 2005, the pro se petitioner, Michael Kevin Meade, an inmate at FCI-

Edgefield, filed a Motion Under 28 U.S.C. §2255 to Vacate, Set Aside or Correct Sentence by a

Person in Federal Custody. This matter, which is pending before me for Report and

Recommendation pursuant to LR PL P 83.15, is ripe for review.

A. Plea

       On December 31, 2003, the petitioner signed a plea agreement in which he agreed to plead

guilty to distribution of cocaine base in violation of 21 U.S.C. §§841(a)(1) and 841(b)(1)(C)(Count

Two). In the plea agreement, the parties stipulated that the total amount of relevant conduct was not

less than 5 grams nor more than 20 grams of cocaine base.

       On January 13, 2004, the petitioner, in the presence of his counsel, in open court, withdrew

his plea of not guilty and entered a plea of guilty.
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B. Sentencing

        On June 1, 2004, the petitioner appeared before the Court for sentencing. The Court

sentenced the petitioner to 57 months imprisonment. The petitioner did not appeal his sentence.1

C. Federal Habeas Corpus

        The petitioner raises the following grounds in his motion:

        (1)     Plea bargain obtained by a coerced confession.
        Although at my sentencing hearing, the prosecutor (John Parr) said the transaction
        was less than ½ gram, he instructed me that if I didn’t plea to 5 grams or more, he
        would bring in known drug users, and dealers to testify against me, and he (John
        Parr) would see that I got 20 years.

        (2)     Ineffective Assistance of Counsel
        Ineffective Counsel because my attorney, Ed Hall, told me that the prosecutor would
        find people to testify, even if they had to make deals to do so, and hearsay evidence
        is admissible in court.

        (3)     Malicious prosecution
        Mr. Parr (federal prosecutor) and Doug Yost (DTE) said they knew I was a user, and
        not a dealer, but I walked into the middle of an ongoing investigation. I had to admit
        to things I didn’t do, so I wouldn’t get 20 years. If I wouldn’t have given enough
        information, they wouldn’t have accepted my plea.


D. Recommendation

        Based upon a review of the record, the undersigned recommends that the petitioner’s §2255

motion be denied.




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         The petitioner states in his petition that “ I was very ignorant to the law, and afraid. The federal
prosecutor said he would punish me further, if I filed an appeal. Also, my attorney discouraged me from
doing so. He said that the federal government would find people, by any means necessary, to testify
against me.” The petitioner’s statement is unsupported and has not been deemed a separate claim.
Moreover, his plea agreement contained a waiver of his right to appeal his sentence.

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                                          II. ANALYSIS

A. Coerced Confession/Malicious Prosecution

       The petitioner asserts that his plea bargain was obtained by a coerced confession in that the

prosecutor told him that if he did not plead guilty he would see that the petitioner received 20 years

in prison. The petitioner also raises a claim of malicious prosecution in which he states that he had

to admit to things he did not do so he would not be sentenced to 20 years, and had he not given

enough information his plea would not have been accepted. The undersigned has considered the

claims together as a challenge to his plea.

       During the plea hearing, while under oath, the petitioner testified that he understood and

agreed with the terms of the plea agreement. (Doc. # 171). He further stated that he was guilty of

the conduct charged in Count Two. (Id.) He also stated that he understood that he would be

sentenced under the Sentencing Guidelines and that those had been explained to him. (Id.). Further,

the petitioner stated that he was not coerced to plead guilty, and that his attorney had adequately

represented him.

        A defendant’s statements at the plea hearing are “strong evidence” of the voluntariness of

the plea agreement. United States v. DeFusco, 949 F.2d 114, 119 (4th Cir. 1991), cert. denied, 503

U.S. 997 (1992). And, “findings by a sentencing court in accepting a plea ‘constitute a formidable

barrier’ to attacking the plea. United States v. Lambey, 949 F. 2d 133, 137 (4th Cir. 1991) (quoting

Blackledge v. Allison, 431 U.S. 63, 73-74 (1977)).

       Here, the petitioner’s contentions are clearly refuted by the statements he made during the

Rule 11 hearing. There is nothing in the record which demonstrates that the petitioner was coerced

into pleading guilty. Thus, this claim is without merit.


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B. Ineffective Assistance of Counsel.

       Counsel’s conduct is measured under the two part analysis outlined in Strickland v.

Washington, 466 U.S. 668, 687 (1984). First, the petitioner must show that his counsel’s

performance fell below an objective standard of reasonableness. Id. at 688. In reviewing claims of

ineffective assistance of counsel, “judicial scrutiny of counsel’s performance must be highly

deferential,” and the court “must judge the reasonableness of counsel’s challenged conduct on the

facts of the particular case, viewed as of the time of counsel’s conduct.” Id. at 689-90.

       Second, the petitioner must be prejudiced by counsel’s performance. In order to demonstrate

prejudice, “the defendant must show there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different. A reasonable

probability is a probability sufficient to undermine confidence in the outcome.” Id. at 694.

       Further, a defendant who alleges ineffective assistance of counsel following a guilty plea has

an even higher burden: he “must show that there is a reasonable probability that, but for counsel’s

errors, he would not have pleaded guilty and would have insisted on going to trial.” Hill v.

Lockhart, 474 U.S. 52, 59 (1985); Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988), cert.

denied, 488 U.S. 843 (1988).

       The petitioner’s allegations do not reveal any plain error by counsel which meets the

Strickland test. He only alleges that his attorney hold him the prosecutor would get people to testify

against him. The allegation as set forth by the petitioner does not state a claim of ineffective

assistance of counsel. Habeas motions must meet heightened pleading requirements. McFarland v.

Scott, 512 U.S. 849 (1994). The movant must come forward with evidence that the claim has merit.

Nickerson v. Lee, 971 F. 2d 1125 (4th Cir. 1992), cert. denied, 507 U.S. 923 (1993). Moreover, the


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petitioner does not meet his burden as set forth in Lockhart, because he does not allege that he

would have proceeded to trial, but for his attorney’s errors. Thus, this claim is without merit.

                                  III. RECOMMENDATION

        The undersigned recommends that the Court enter an Order DENYING the petitioner’s

§2255 motion.

        Any party may file within ten (10) days after being served with a copy of this

Recommendation with the Clerk of the Court written objections identifying the portions of the

Recommendation to which objections are made, and the basis for such objections. A copy of such

objections should also be submitted to the Honorable Irene M. Keeley, United States District Chief

Judge. Failure to timely file objections to the Recommendation set forth above will result in waiver

of the right to appeal from a judgment of this Court based upon such Recommendation. 28 U.S.C.

§ 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);

Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

        The Clerk of Court is directed to mail a copy of this Recommendation to the pro se

petitioner.

Dated: September 16, 2005

                                                      /s John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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